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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)

COLE, SCHOTZ, MEISEL,
FORMAN & LEONARD, P.A.
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Proposed Co-Counsel to the Official
Committee of Unsecured Creditors of
Shapes/Arch Holdings L.L.C., et al.
In re:                                              Case No. 08-14631(GMB)
                                                    (Jointly Administered)
SHAPES/ARCH HOLDINGS L.L.C., et al.,                Chapter 11
                       Debtors.

ORDER APPROVING THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
    RETENTION OF COLE, SCHOTZ, MEISEL, FORMAN & LEONARD, P.A.
        AS ITS CO-COUNSEL, NUNC PRO TUNC TO MARCH 31, 2008

The relief set forth on the following pages, numbered two (2) through three (3), is hereby
ORDERED.




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Case No:                     08-14631(GMB)
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                             UNSECURED CREDITORS’ RETENTION OF COLE, SCHOTZ,
                             MEISEL, FORMAN & LEONARD, P.A. AS ITS CO-COUNSEL,
                             NUNC PRO TUNC TO MARCH 31, 2008


         THIS MATTER having been opened to the Court by the Official Committee of

Unsecured Creditors (the “Committee”) of Shapes/Arch Holdings L.L.C., et al. (the “Debtors”),1

upon an Application for entry of an Order approving the Committee’s employment and retention

of Cole, Schotz, Meisel, Forman & Leonard, P.A. (“Cole Schotz”) as its co-counsel in these

proceedings, nunc pro tunc to March 31, 2008; and the Court having considered the Application

and the Affidavit of Michael D. Sirota, Esq. in support thereof; and the Court being satisfied that

Cole Schotz does not hold or represent any interest adverse to the Debtors, their estates or

creditors, and satisfies the requirements of Sections 328(a) and 1103(b) of the Bankruptcy Code,

and that said employment would be in the best interests of the estates; and notice of the proposed

retention having been given in accordance with the requirements of D.N.J. LBR 2014-1(a); and

for good cause shown,

         IT IS ORDERED as follows:

         1.       The employment and retention of Cole Schotz as co-counsel to the Committee is

hereby authorized and approved effective as of March 31, 2008.

         2.       Any and all compensation to be paid to Cole Schotz for services rendered on the

Committee’s behalf shall be fixed by application to this Court in accordance with Sections 330



1
 The Debtors are Shapes/Arch Holdings L.L.C., Shapes L.L.C., Delair L.L.C., Accu-Weld
L.L.C., and Ultra L.L.C.




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                             NUNC PRO TUNC TO MARCH 31, 2008


and 331 of the Bankruptcy Code and such Rules of Local and Federal Bankruptcy Procedure as

may then be applicable, unless an alternate arrangement for interim compensation is authorized

by the Court.

         3.       A copy of this Order shall be served on all parties-in-interest within seven (7)

days hereof.




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